Case 4:21-cv-00616-O Document 1 Filed 05/03/21 Page

PETITION FOR WRIT OF HABEAS CORPUS; 28 USC §2254 (Rev. 9/10)
ADOPTED BY ALI FEDERAL COURTS IN TEXAS

 
     
  
    
     

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NORTHERN DISTRICT “OF TEXAS
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ELERK, US. Dyspaict COURT

BY ——heay

IN THE UNITED STATES DISTRICT COU

FOR THE /VOKR 7H EKA DISTRICT OF *%

Foce lta th DIVISION

PETITION FOR A WRIT OF HABEAS CORPUS BY

 

 

 

 

 

 

A PERSON IN STATE CUSTODY
Jalss ad Ahi Robervson LrisawWd
PETITIONER CURRENT PLACE OF CONFINEMENT
(Fuil name of Petitioner)
vs. ORL PT IY
* PRISONER ID NUMBER

Bobbg Lm af 4-21C0V-616-6
RESPONDENT CASE NUMBER
(Name of TDC] Director, Warden, Jailor, or (Supplied by the District Court Clerk)
authorized person having custody of Petitioner)

INSTRUCTIONS - READ CAREFULLY

1, The petition must be legibly handwritten or typewritten and signed and dated by the petitioner,

under penalty of perjury. Any false statement of an important fact may lead to prosecution for
perjury. Answer all questions in the proper space on the form.

2. Additional pages are not allowed except in answer to questions 11 and 20. Do not cite legal
authorities, Any additional arguments or facts you want to present must be in a separate
memorandum. The petition, including attachments, may not exceed 20 pages.

3. Receipt of the $5.00 filing fee or a grant of permission to proceed in forma pauperis must occur
before the court will consider your petition.

4, If you do not have the necessary filing fee, you may ask permission to proceed in forma pauperis.
To proceed in forma pauperis, (1) you must sign the declaration provided with this petition to
show that you cannot prepay the fees and costs, and (2) if you are confined in TDCJ-CID, you
must send in a certified Jn Forma Pauperis Data Sheet form from the institution in which you are
confined. If you are in an institution other than TDCJ-CID, you must send in a certificate
completed by an authorized officer at your institution certifying the amount of money you have
on deposit at that institution. If you have access or have had access to enough funds to pay the

filing fee, then you must pay the filing fee. (\)
Case 4:21-cv-00616-O Document 1 Filed 05/03/21 Page 2o0f13 PagelD 32
Only judgments entered by one court may be challenged in a single petition. A separate petition
must be filed to challenge a judgment entered by a different state court.

Include all of your grounds for relief and all of the facts that support each ground for relief in this
petition.

Mail the completed petition and one copy to the U. S. District Clerk. The “Venue List” in your
unit law library lists ail of the federal courts in Texas, their divisions, and the addresses for the
clerk’s offices. The proper court will be the federal court in the division and district in which you
were convicted (for example, a Dallas County conviction is in the Northern District of Texas,
Dallas Division) or where you are now in custody (for example, the Huntsville units are in the
Southern District of Texas, Houston Division).

Failure to notify the court of your change of address could result in the dismissal of your case.

 

PETITION

What are you challenging? (Check all that apply)

a A judgment of conviction or sentence, (Answer Questions 1-4, 5-12 & 20-25)
probation or deferred-adjudication probation.

O A parole revocation proceeding. (Answer Questions 1-4, 13-14 & 20-25)

O A disciplinary proceeding. (Answer Questions 1-4, 15-19 & 20-25)

1] Other: (Answer Questions 1-4, 10-11 & 20-25)

 

All petitioners must answer questions 1-4:

Note: In answering questions 1-4, you must give information about the conviction for the sentence you
are presently serving, even if you are challenging a prison disciplinary action. (Note: If you are
challenging a prison disciplinary action, do not answer questions 1-4 with information about the
disciplinary case. Answer these questions about the conviction for the sentence you are presently serving.)
Failure to follow this instruction may result in a delay in processing your case.

Name and location of the court (district and county) that entered the judgment of conviction and
sentence that you are presently serving or that is under attack: 4/22 _| ved. ‘C14 /

 

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Date of judgment of conviction: / & Lal 7 Aor /
Length of sentence: th Lf ty if LASS.

Identify the docket numbers (if known) and all crimes of which you were convicted that you wish
to challenge in this habeas action: “Trj4/ CASS #f /3 65 O33 2

 
Case 4:21-cv-00616-O Document 1 Filed 05/03/21. Page. 3 of 13 PagelD 33

Judgment of Conviction or Sentence, Probation or Deferred-Adjudication Probation:

5.

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10.

11.

What was your plea? (Check one) Not Guilty C) Guilty C1 Nolo Contendere
Kind of trial: (Check one) Jury C) Judge Only
Did you testify at trial? Yes [No

Did you appeal the judgment of conviction? T7 Yes OI No

If you did appeal, in what appellate court did you file your direct appeal? 72k. Cause
of, Sons als for a. «distr ter Cause Number (ifknown): 02 -/2-20/ LLL
What was the result of your direct appeal (affirmed, modified or reversed)? AF} EL (MEd

What was the date of that decision? 3 / 20/8 Ofc 165

If you filed a petition for discretionary review after the decision of the court of appeals, answer
the following:

Grounds raised: Zs fFec-n'vs Assi bp of Counts if : Lidig ELPS Llglhy
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Result: +£ fus £ df

Date of result: 26 20/7 Aw Cause Number (ifknown): “40 -O2 76-42

If you filed a petition for a writ of certiorari with the United States Supreme Court, answer the
following:

Result: Af \ 4
Date of result: /V \4

Other than a direct appeal, have you filed any petitions, applications or motions from this
judgment in any court, state or federal? This includes any state applications for a writ of habeas
corpus that you may have filed. [Yes ONo

If your answer to 10 is “Yes,” give the following information:

Name of court:

 

Nature of proceeding: 4r¢ //.07 ft: LAS Corpus
Cause number (ifknown):_L/ A - 90, 6 64 -oOL

 
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stamped date from the particular court: 20,2020 Det Bled ino etal Caste $.Aato My

Grounds raised: - Vind

 

Date of final decision: 27 Ao22p ECE bh a

What was the decision? VALLE Ct+Ed oe Le
Name of court that issued the final decision: 7773 Criss {Ss
As to any second petition, application or motion, give the same information:

Name of court: Ad \ A
Nature of proceeding: /V \A
Cause number (if known): SU XM x

Date (month, day and year) you filed the petition, application or motion as shown by a file-
stamped date from the particular court:

N\A
Grounds raised: VAVA \ Al

 

Date of final decision: AY N A
What was the decision? /V \A

Name of court that issued the final decision:

 

If you have filed more than two petitions, applications or motions, please attach an additional
sheet of paper and give the same information about each petition, application or motion.

Do you have any future sentence to serve after you finish oye the sentence you are atiacking
in this petition? EI Yes No

(a) If your answer is “Yes,” give the name and location of the court that imposed the sentence
to be served in the future: “VV.

 

 

(b} Give the date and length of the sentence to be served in the future:

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sentence you must serve in the future? 01 Yes No

Parole Revocation:

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14,

Date and location of your parole revocation:

 

Have you filed any petitions, applications or motions in any state or federal court challenging
your parole revocation? []lYes EINo

If your answer is “Yes,” complete Question 11 above regarding your parole revocation.

Disciplinary Proceedings:

15,

16.

17,

18.

19.

For your original conviction, was there a finding that you used or exhibited a deadly weapon?
[Ci Yes [INo

Are you eligible for release on mandatory supervision? (4) Yes XO No

Name and location of the TDC] Unit where you were found guilty of the disciplinary violation:

 

Disciplinary case number:

 

What was the nature of the disciplinary charge against you?

 

Date you were found guilty of the disciplinary violation:

 

Did you lose previously earned good-time days? OyYes CO No

If your answer is “Yes,” provide the exact number of previously earned good-time days that were
forfeited by the disciplinary hearing officer as a result of your disciplinary hearing:

 

Identify all other punishment imposed, including the length of any punishment, if applicable, and
any changes in custody status:

 

 

 

Did you appeai the finding of guilty through the prison or TDCJ grievance procedure?
Ci Yes 0 No

If your answer to Question 19 is “Yes,” answer the following:

Step 1 Result:

 
Case $32 GyQQ645-O Document1 Filed 05/03/21 Page 6of13 PagelD 36

 

Step 2 Result:

 

Date of Result:

 

All petitioners must answer the remaining questions:

20,

For this petition, state every ground on which you claim that you are being held in violation of the
Constitution, laws, or treaties of the United States. Summarize briefly the facts supporting each
ground, Ifnecessary, you may attach pages stating additional grounds and facts supporting them.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust your available state-
court remedies on each ground on which you request action by the federal court. Also, if you fail

to set forth all the grounds in this petition, you may be barred from presenting additional grounds
ata later date.

GROUND ONE: Applictatet l4-6 fatale rights Le Ltt whist
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Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

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Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
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Case 4:21-cv-00616-O Document 1 Filed 05/03/21 Page 7of13 PagelD 37
C. GROUND THREE:

 

 

Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

 

 

 

 

D. GROUND FOUR:

 

 

Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

 

 

 

 

21. Relief sought in this petition: _Lttth CASE Fé Aatd 5 % piv ils ied

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revocation or disciplinary proceeding that you are attacking in this petition? Yes LINo
If your answer is “Yes,” give the date on which each petition was filed and the federal court in
which it was filed. Also state whether the petition was (a) dismissed without prejudice, (b)
dismissed with prejudice, or (c) denied.

 

NMA

If you previously filed a federal petition attacking the same conviction and such petition was
denied or dismissed with prejudice, did you receive permission from the Fifth Circuit to file a
second petition, as required by 28 U.S.C. § 2244(b)(3) and (4)? DO Yes CINo

Are any of the grounds listed in question 20 above presented for the first time in this petition?
1 Yes No

If your answer is “Yes,” state briefly what grounds are presented for the first time and give your
reasons for not presenting them to any other court, either state or federal.

 

MV\ 4

 

Do you have any petition or appeal now pending (filed and not yet decided) in any court, either
state or federal, for the judgment you are challenging? CO Yes [No

If “Yes,” identify each type of proceeding that is pending (ie., direct appeal, art. 11.07
application, or federal habeas petition), the court in which each proceeding is pending, and the

date each proceeding was filed.

Give the name and address, if you know, of each attorney who represented you in the following
stages of the judgment you are challenging:

 

 

(a) At preliminary hearing:

 

(b}  Atarraignment and plea:

 

(c} At trial:

 

(d}  Atsentencing:

 

(e} On appeal:

 

(f) In any post-conviction proceeding:

 
Case 4,21 Cv-00616-O Document 1_ Filed 05/03/21 , Page 9 of 13 PagelD 39
(g) On appeal from any ruling against you in a post-conviction proceeding:

 

Timeliness of Petition:
26, ‘If your judgment of conviction, parole revocation or disciplinary proceeding became final over

one year ago, you must explain why the one-year statute of limitations contained in 28 U.S.C. §
2244(d) does not bar your petition.’

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i The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”), as contained in 28 U.S.C. § 2244(d),
provides in part that:

(D A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
custody pursuant to the judgment ofa State court. The limitation period shall run from the latest of-

(A) the date on which the judgment became final by the conclusion of direct review or the
expiration of the time for seeking such review;

(B) the date on which the impediment to filing an application created by State action in violation
of the Constitution or laws of the United States is removed, ifthe applicant was prevented from
filing by such State action;

(C) the date on which the constitutional right asserted was initially recognized by the Supreme
Court, ifthe right has been newly recognized by the Supreme Court and made retroactively
applicable to cases on collateral review; or

(D) the date on which the factual predicate of the claim or claims presented could have been
discovered through the exercise of due diligence.

(2) The time during which a properly filed application for State post-conviction or other collateral review
with respect to the pertinent judgment or claim is pending shall not be counted toward any period of
limitation under this subsection.
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Signature of Attorney Gf any)

 

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Petition for a Writ of Habeas Corpus was placed in the prison mailing system on

 

AQe VA ; 2, 202) (month, day, year).
Executed (signed) on Agev\ On Vo2\ (date).

 

 
 
 

   

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Sighatu (required)

Petitioner’s current address: Francia mm. Orleeckson Unsk Worl fm 3522 _
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U.S. Distrie¢ Clerk =F
VArrarie COUN H: |
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£2, NORTUERN DISTRICT OF TEXAS ©

   

 

 

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